Case 18-13335 Doc 75 Filed 01/31/24 Entered 01/31/24 14:49:40 Main Document Page 1 of 5

                United States Bankruptcy Court
                                 Eastern District of Louisiana




EUGENE BARON SCHWING, JR.                                                                             18-13335
239 DILTON ST                                                                                           Chapter 13
NEW ORLEANS LA 70123                                                                                     Section A



  TRUSTEE'S NOTICE OF PLAN COMPLETION AND PROCEDURES REGARDING THE
               DISCHARGE ORDER AND CLOSING OF THE CASE
                                                                                                                           .


NOTICE IS GIVEN that the debtor(s) have completed the payments due under their confirmed plan.
The Chapter 13 Trustee is prepared to close the case pursuant to 11 U.S.C. §350(a), 11 U.S.C.
§1302(b) and Federal Rule of Bankruptcy Procedure 5009.

NOTICE IS FURTHER GIVEN that the debtor(s) must file under penalty of perjury the DEBTOR(S)
MOTION FOR ENTRY OF DISCHARGE AND CERTIFICATION OF PLAN COMPLETION in the form attached
hereto, which must be signed, filed, and served on all creditors and parties in interest included on
the court's mailing matrix within 60 days of the date the Chapter 13 Trustee certifies he mailed this
notice (see Certificate of Service below for date). If the debtor(s) is/are unable to make the
certification and asserts entitlement to a discharge, debtor(s) may file the MOTION FOR ENTRY OF
DISCHARGE WITHOUT CERTIFICATION OF PLAN COMPLETION within the time periods and upon the
parties shown above.

NOTICE IS FURTHER GIVEN that the debtors' failure to comply will result in the closing of the case
without the entry of a discharge. If the debtors thereafter desire a discharge, the case will have to
be reopened and the debtor(s) will have to pay the fee due for the filing of the motion to reopen.




Attorney for Debtor:                                                         Certificate of Service

STEVEN J HUNTER                                   I certify that this notice w as served by the court's electronic filing system
steven.john.hunter@live.com                       upon the debtor's attorney, and by email and/or first class mail upon the
                                                  debtor, at the addresses listed herein.

                                                                                                            S.J. BEAULIEU JR.
                                                  Date: 01/31/2024                           by: /s/ Beverly Faulkenbery
Case 18-13335 Doc 75 Filed 01/31/24 Entered 01/31/24 14:49:40 Main Document Page 2 of 5

                United States Bankruptcy Court
                                Eastern District of Louisiana




EUGENE BARON SCHWING, JR.                                                            18-13335
239 DILTON ST                                                                          Chapter 13
NEW ORLEANS LA 70123                                                                    Section A



                     DEBTOR'S MOTION FOR ENTRY OF DISCHARGE
                      AND CERTIFICATION OF PLAN COMPLETION
                                                                                                  ..
    The debtor(s) certify under penalty of perjury that the following is true and correct, and based
on this certification moves for the entry of a discharge pursuant to 11 U.S.C. §1328(a):

   1. All plan payments have been completed and the debtor(s) is/are otherwise entitled to a
      discharge under 11 U.S.C. §1328(a).

   2. Debtor does not have any liability for domestic support obligations due on or before the date
   this certificate is signed, including any post-petition amounts to the extent provided for by
   the plan, or the debtor has such obligations to:


          Payee:

          Address:


   3. Debtor has successfully completed an approved instruction course concerning personal
      financial management described in 11 U.S.C. §111 if a waiver is not currently in effect.

   4. The provisions of 11 U.S.C. §522(q) are not applicable in this case, pursuant to 11 U.S.C. §
      1328(h). There are no proceedings pending against the debtor of the kind described in 11
      U.S.C. §522(q)(1)(A) or 11 U.S.C. §522(q)(1)(B), pursuant to §1328(h).

   5. The debtor is not ineligible to receive a discharge in this case by reason of obtaining a prior
      discharge in accordance with §1328(f)(1) or (2).



______________________________                              _______________________________
Debtor's signature        Date                              Co-debtor's signature      Date
Case 18-13335 Doc 75 Filed 01/31/24 Entered 01/31/24 14:49:40 Main Document Page 3 of 5

                United States Bankruptcy Court
                                  Eastern District of Louisiana




EUGENE BARON SCHWING, JR.                                                          18-13335
239 DILTON ST                                                                       Chapter 13
NEW ORLEANS LA 70123                                                                 Section A



                                       NOTICE OF HEARING
                                                                                               ...

NOTICE IS GIVEN that the debtor(s) have filed a MOTION FOR ENTRY OF DISCHARGE AND
CERTIFICATION OF PLAN COMPLETION and has requested that a discharge be entered.

NOTICE IS FURTHER GIVEN that any party opposing the Debtor's Motion for Entry of Discharge and
Certification pf Plan Completion must file the objection with the clerk of court, and serve the
trustee, the debtor, and the debtor's attorney no later than eight days before the scheduled
hearing. If no objection is received, the Court may, without the necessity for hearing or further
notice, grant the relief requested.

Objections, if any are filed, will be heard on

                 _____________________________________________ at 8:25 a.m.

at the *SECTION A TeleConference Line: 1-504-517-1385 Access Code 129611.

Name, address and phone number of attorney for debtor:




                                       CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing MOTION FOR ENTRY OF DISCHARGE and
CERTIFICATION OF PLAN COMPLETION and the above NOTICE OF HEARING were served on
__________________, 20___, by ELECTRONIC FILING through the court's electronic filing system
upon: _________________________________

and by first class mail, postage prepaid upon: ______________________________________



                                                  __________________________________
Case 18-13335 Doc 75 Filed 01/31/24 Entered 01/31/24 14:49:40 Main Document Page 4 of 5

               United States Bankruptcy Court
                               Eastern District of Louisiana




EUGENE BARON SCHWING, JR.                                                          18-13335
239 DILTON ST                                                                       Chapter 13
NEW ORLEANS LA 70123                                                                 Section A



                   DEBTOR'S MOTION FOR ENTRY OF DISCHARGE
                  WITHOUT CERTIFICATION OF PLAN COMPLETION
                                                                                                ....

The debtor(s) are unable to certify affirmatively that the plan is complete because debtor(s)
cannot attest to (explanation): ____________________________________________________.
The debtor(s) move for the entry of a Chapter 13 discharge in accordance with the Notice of
Hearing sent out contemporaneously herewith.




________________________________                    _________________________________
Debtor's signature          Date                       Co-debtor's signature        Date




                                    CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing DEBTOR'S MOTION FOR ENTRY OF
DISCHARGE WITHOUT CERTIFICATION OF PLAN COMPLETION was served on _________________,
20_____, by ELECTRONIC FILING through the court's electronic filing system upon:
________________________________ and by first class mail, postage prepaid upon:
_______________________________.




                                                 ______________________________________
Case 18-13335 Doc 75 Filed 01/31/24 Entered 01/31/24 14:49:40 Main Document Page 5 of 5

                United States Bankruptcy Court
                                Eastern District of Louisiana




EUGENE BARON SCHWING, JR.                                                           18-13335
239 DILTON ST                                                                         Chapter 13
NEW ORLEANS LA 70123                                                                   Section A



                                    NOTICE OF HEARING
                                                                                              .....
NOTICE IS GIVEN that the debtor(s) have filed a MOTION FOR ENTRY OF DISCHARGE WITHOUT
CERTIFICATION OF PLAN COMPLETION and has requested that a Chapter 13 discharge be entered.

NOTICE IS FURTHER GIVEN that any party opposing the Debtor's Motion for Entry of Discharge
Without Certification pf Plan Completion must file the objection with the clerk of court, and serve
the trustee, the debtor, and the debtor's attorney no later than eight days before the scheduled
hearing. If no objection is received, the Court may, without the necessity for hearing or further
notice, grant the relief requested.

A hearing will be held on

              _________________________________________________ at 8:25 a.m.

at the *SECTION A TeleConference Line: 1-504-517-1385 Access Code 129611.

Name, address and phone number of attorney for debtor:




                                    CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing MOTION FOR ENTRY OF DISCHARGE
WITHOUT CERTIFICATION OF PLAN COMPLETION and the above NOTICE OF HEARING were served
on __________________, 20___, by ELECTRONIC FILING through the court's electronic filing
system upon: _________________________________

and by first class mail, postage prepaid upon: ______________________________________



                                                  __________________________________
